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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES,
                                                       S3 24 cr. 542 (AS)
v.
                                                       MOTION FOR ADMISSION
SEAN COMBS,
                                                       PRO HAC VICE
                 Defendant.
___________________________

          Pursuant to Rule 1.3(i) of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, Brian Steel hereby moves this Court for an Order for admission to

practice Pro Hac Vice to appear as counsel for Sean Combs, Defendant, in the above-captioned

action.

          I am a member in good standing of the Bar of the State of Georgia and there are no pending

disciplinary proceedings against me in any state or federal court. (See Attached Certificate of Good

Standing, Exhibit “A”). I have never been convicted of a felony. I have never been disbarred or

denied admission or readmission by any court. I have been administratively suspended (then

reinstated) and censured (but then vindicated) by courts and provide the facts and circumstances

surrounding those instances in the attached the affidavit pursuant to Local Rule 1.3. (Exhibit “B”)


          Dated: April 15, 2025.

                                                       Respectfully Submitted,


                                                       /s/ Brian Steel
                                                       Brian Steel
                                                       The Steel Law Firm, P.C.
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                                                       Applicant for Pro Hac Vice Admission
